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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 PATIENCE PEPPER,                                                  CIVIL ACTION
      Plaintiffs

 VERSUS                                                            NO. 22-766

 PURPLE CLOTH PROPERTIES, LLC,                                     SECTION: “E” (5)
     Defendant


                               ORDER OF DISMISSAL
         The Court having been advised that all parties have firmly agreed upon a

compromise in this matter;

         IT IS ORDERED that this action is hereby dismissed as to all parties, without

costs and without prejudice to the right, upon good cause shown, within sixty days, to

reopen the action if the settlement is not consummated. In addition, the Court specifically

retains jurisdiction to enforce the settlement agreement if settlement is not consummated

within sixty days. See Fed. R. Civ. P. 41(a)(2); Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 381-82 (1994); Hospitality House, Inc. v. Gilbert, 298 F.3d 424, 430 (5th Cir.

2002).

         COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN

SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT

TO APPEAR.

               New Orleans, Louisiana, this 10th day of June, 2022.


                      ________________________________
                               SUSIE MORGAN
                        UNITED STATES DISTRICT JUDGE
